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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

KILTS RESOURCES LLC,                           §
      Plaintiff,                               §
                                               §
v.                                             § CIVIL ACTION NO. 2:10-cv-543-TJW-CE
                                               §
BIO-RAD LABORATORIES, INC.,                    §
     Defendant.                                §
                                               §

                                            ORDER

     Before the Court is the parties’ joint motion for entry of agreed final judgment. (Dkt. No.

9.) The Court observes that the parties’ have entered into a settlement agreement. The Court

construes the parties’ motion as a motion to dismiss this case and enters judgment as follows:

     As a result of the settlement agreement between the parties, IT IS HEREBY ORDERED that

the above-captioned action including all claims and defenses between Plaintiff and Defendant is

hereby dismissed with prejudice, each side is to bear its own costs and expenses, including

attorney’s fees, incurred in connection with the actions. This Court will continue to retain

jurisdiction for purposes of enforcing the settlement agreement between the parties.

     It is so ORDERED.
     SIGNED this 12th day of September, 2011.



                                           __________________________________________
                                           T. JOHN WARD
                                           UNITED STATES DISTRICT JUDGE
